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                            UNITED STATES DISTRICT COURT
  14                      SOUTHERN DISTRICT OF CALIFORNIA
  15
  16    Ms. L., et al.,                             Case No. 18-cv-00428-DMS-MDD
  17                       Petitioner-Plaintiff,
        v.
  18                                                Date Filed: July 30, 2019
        U.S. Immigration and Customs
  19    Enforcement (“ICE”), et al.,
                                                    PLAINTIFFS’ MOTION TO
  20                                                FILE OVERLENGTH BRIEF IN
                    Respondents-Defendants.         SUPPORT OF MOTION TO
  21                                                ENFORCE PRELIMINARY
                                                    INJUNCTION
  22
                                                    AND
  23
                                                    PARTIES’ PROPOSED
  24                                                BRIEFING SCHEDULE ON
                                                    MOTION TO ENFORCE
  25                                                PRELIMINARY INJUNCTION
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    1          Pursuant to Local Rule 7.1(h), Plaintiffs respectfully request leave to file a
    2 29 page Memorandum in support of their Motion to Enforce Preliminary
    3 Injunction. Plaintiffs submit that the additional 4 pages are necessary to fully
    4 address the extensive factual developments in this case regarding ongoing
    5 separations of children from their parents. Counsel for Defendants informed
    6 Plaintiffs that Defendants do not oppose the request to file an overlength
    7 Memorandum.
    8         The parties have also discussed a briefing schedule on the Motion to
    9 Enforce Preliminary Injunction, and propose the following dates:
  10        Tuesday, July 30, 2019 – Plaintiffs file Motion to Enforce
  11        Tuesday, August 30, 2019 – Defendants file Opposition to Motion to
  12        Enforce
  13        Monday, September 9, 2019 – Plaintiffs file Reply in support of Motion to
  14        Enforce
  15
        Dated: July 30, 2019                        Respectfully Submitted,
  16
                                                    /s/Lee Gelernt
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    1                           CERTIFICATE OF SERVICE
    2
              I hereby certify that on July 30, 2019, I electronically filed the foregoing
    3
        with the Clerk for the United States District Court for the Southern District of
    4
        California by using the appellate CM/ECF system. A true and correct copy of
    5
        this brief has been served via the Court’s CM/ECF system on all counsel of
    6
        record.
    7
    8                                               /s/ Lee Gelernt
                                                    Lee Gelernt, Esq.
    9
                                                    Dated: July 30, 2019
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